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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


FG SRC LLC,                                      §
                                                 §
       Plaintiff,                                §
                                                 §
       v.                                        §         Civil Action No. 20-00601-WCB
                                                 §
XILINX, INC.                                     §              FILED UNDER SEAL
                                                 §
       Defendant.                                §
                                                 §
                                                 §


                         MEMORANDUM OPINION AND ORDER

       In this case, plaintiff FG SRC LLC (“SRC”) has accused defendant Xilinx, Inc., (“Xilinx”)

of infringing U.S. Patent No. 9,153,311 (“the ’311 patent”).        Claim construction has been

completed, and fact discovery is currently scheduled to close on May 2, 2022. The parties have

filed two motions relating to the discovery proceedings in this case. SRC has moved to extend the

deadline for fact discovery and all subsequent deadlines by five months. Dkt. No. 116. Xilinx has

moved for a protective order to limit SRC’s use of third-party subpoenas. Dkt. No. 133. This

order addresses both motions. SRC’s motion to extend the deadline for fact discovery (Dkt. No.

116) is GRANTED, and Xilinx’s motion for a protective order to limit SRC’s use of third-party

subpoenas (Dkt. No. 133) is GRANTED IN PART.

   1. Extension of Deadlines

       SRC moves to extend the deadline for fact discovery by five months because SRC asserts

that it “cannot reasonably conduct [its] third-party discovery before the current deadline of May 2,

2022.” Dkt. No. 117 at 1. SRC argues that Xilinx’s delay in producing information regarding its

customers, many of which are located outside of the United States, has prevented it from seeking


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discovery that is necessary to its case. Specifically, SRC seeks information regarding which, if

any, of Xilinx’s customers use Xilinx’s products in an infringing manner.

       Earlier in this case, SRC moved to compel Xilinx to produce certain information regarding

its customers, including a spreadsheet listing customers who had purchased certain products from

Xilinx that can be adapted to infringe the asserted patent. See generally Dkt. No. 107. After a

discovery teleconference, Xilinx provided such a spreadsheet to SRC, but did not provide

sufficient information for SRC to understand the contents of the spreadsheet. Dkt. No. 109 at 1. I

then ordered Xilinx to provide SRC information sufficient to convey “full knowledge of the

meaning of terms and abbreviations used in the spreadsheet.” Dkt. No. 111 at 1. The parties then

agreed to resolve the dispute, and I entered an order memorializing the parties’ agreement on

February 25, 2022. Dkt. No. 113.

       SRC asserts that Xilinx’s delay in providing customer information has prevented SRC from

conducting discovery with respect to those customers, in particular Xilinx’s non-U.S. customers.

Xilinx argues that the dispute regarding customer information “was crystallized in July 2021,” and

therefore any delay between July 2021 and February 2022 is attributable to SRC. Dkt. No. 126 at

1 (emphasis omitted).

       I find SRC’s version of events to be more persuasive. Although it is true that SRC might

have brought this issue to the court in July 2021, SRC instead sought to conduct a Rule 30(b)(6)

deposition of Xilinx regarding its “practices and policies related to record keeping” so as to

determine how to obtain information regarding possible infringing activities by Xilinx’s

customers. Dkt. No. 118, Exh. M, at 7–8. SRC served Xilinx with notice of that deposition on

September 1, 2021. Xilinx, however, did not make that witness available until November 30,

2021, and the deposition was ultimately taken on December 14, 2021. Dkt. No. 118, Exhs. P, R.



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In that deposition, SRC learned that the “information sought by SRC could be readily obtained

from Xilinx’s databases in a couple of hours.” Dkt. No. 117 at 11 (emphasis omitted). I found

that fact to be persuasive when I ordered Xilinx to produce the spreadsheet of customer information

to SRC. If SRC had approached the court prior to obtaining that information, it may not have been

able to make as strong a case for obtaining Xilinx’s customer list. I therefore find that SRC was

sufficiently diligent in proceeding as it did in seeking that information.

       Furthermore, I find that in certain respects Xilinx’s conduct in discovery has been dilatory.

For instance, Xilinx’s failure to make a witness available for the 30(b)(6) deposition that SRC

sought until almost three months after Xilinx was served with notice of that deposition contributed

significantly to the delay in resolving the customer information issue between July 2021 and

February 2022. And Xilinx’s refusal to provide SRC with sufficient information to interpret its

customer spreadsheet, which I ordered Xilinx to produce, impeded SRC’s efforts to obtain the

accessible information it sought regarding Xilinx’s customer list. While Xilinx points out that it

produced some documents earlier in the discovery process that identified many of the Xilinx

customers that had purchased the accused products, Xilinx failed to produce a complete customer

list, in a comprehensible form, until February 2022. For that reason, Xilinx’s argument that SRC

should have been more aggressive in pursuing the information that Xilinx was withholding is not

persuasive.

       With that said, I was disappointed to learn, from SRC’s reply memorandum, that SRC has

not even begun seeking discovery from foreign sources. SRC’s excuse for its inactivity in that

regard is that it did not begin foreign discovery because it did not believe it could complete all of

the necessary foreign discovery by the current May 2, 2022, date for the close of fact discovery.

Dkt. No. 132 at 4. That is, of course, no justification for SRC not at least beginning the foreign



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discovery process. Notwithstanding SRC’s failure to initiate foreign discovery, however, the

course of the discovery in this case to date––and in particular the prospect that at least some foreign

discovery will be required––justifies an extension of the period for fact discovery.

       Accordingly, I will grant the five-month extension that SRC requests. That extension will

require that the trial date currently set for March 20, 2023, be canceled. A revised scheduling order

will be entered shortly. Any further extensions of the fact discovery deadline will be entertained

only upon a robust showing of diligence by the party seeking the extension.

   2. Protective Order

       Xilinx moves for a protective order because, in its view, SRC is using subpoenas to harass

its customers without a legitimate basis for doing so. More specifically, Xilinx asserts that SRC

is conducting a “fishing expedition” in which it is looking for entities that have purchased Xilinx’s

products and may be using them in an infringing manner, even though SRC lacks a “plausible

basis for believing that any of th[o]se customers use the functionality of the Asserted Patent.” Dkt.

No. 134 at 1–2. As a remedy, Xilinx requests that I order SRC to withdraw most of the subpoenas

it has served on Xilinx’s customers in this case.

       To date, SRC has served 88 subpoenas on Xilinx’s domestic customers. See Dkt. Nos.

115, 119, 120, 129, 130, 137. And although SRC has indicated that it does not intend to serve

more subpoenas on Xilinx’s domestic customers, it does intend to serve subpoenas on several of

Xilinx’s foreign customers. Dkt. No. 142, Exh. E, at ¶ 8. For the entities that are targeted by most

of those subpoenas, SRC has not suggested that it has any reason to believe that Xilinx has induced

them to use methods that would infringe the asserted patent or that the target entities actually

practice the infringing methods. It appears that the sole predicate for the issuance of those




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subpoenas is the fact that those entities are customers of Xilinx, and that they have purchased

products from Xilinx that could be used in an infringing manner.

       Xilinx argues that SRC’s 88 subpoenas are intended primarily to “harass Xilinx’s

customers and disrupt Xilinx’s business.” Dkt. No. 134 at 1. The subpoenas, according to Xilinx,

are designed not with the expectation that they will produce evidence of infringement by Xilinx,

but principally to exert pressure on Xilinx to settle this case. Id. at 2. Xilinx reports that it has

already received complaints from customers regarding the subpoenas and questions about why

those customers have been targeted “despite never having heard of the accused functionality,” and

that the subpoenas will impose considerable legal expenses on Xilinx’s subpoenaed customers.

Dkt. No. 144 at 6. SRC responds that the subpoenas are part of a legitimate effort to identify

customers of Xilinx that Xilinx has induced to infringe the asserted patent and that SRC has

received responses to several of its subpoenas directly from the subpoenaed parties without the

involvement of outside counsel. In its reply brief, however, Xilinx reports that at least 15 law

firms have already been involved in responding to the various subpoenas directed to Xilinx’s

customers. Id. Collectively, Xilinx asserts, the burden on the subpoenaed third parties, and

indirectly on Xilinx, is likely to be considerable.

       Under Federal Rule of Civil Procedure 26(c), “[t]he court may, for good cause, issue an

order to protect a party or person from annoyance, embarrassment, oppression, or undue burden

or expense.” In this district, courts have identified four factors that govern the good-cause inquiry

for this purpose: “relevance, need, confidentiality, and harm.”        AbbVie Inc. v. Boehringer

Ingelheim Int’l GmbH, No. CV 17-1065, 2018 WL 2337133, at *1 (D. Del. May 23, 2018) (quoting

Mannington Mills, Inc. v. Armstrong World Indus., Inc., 206 F.R.D. 525, 529 (D. Del. 2002)).




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               A. Relevance

       The subpoenas, which are all quite similar, are broad in scope. And for many of the

subpoenas, SRC has not provided a sufficient basis for believing that they are likely to produce

evidence relevant to the current action. SRC has identified no evidence that Xilinx is inducing

infringement by its customers generally, and for a large majority of the subpoenaed targets, SRC

has identified no evidence that those customers practice the claimed invention. 1

       There are, however, a few customers for which broad subpoenas may be justified. For

instance, Xilinx has identified a set of customers that it believes may use the accused functionality:

Ericsson, Amazon, IBM, and Microsoft. Dkt. No. 134 at 4; Dkt. No. 107, Exh. 5, at 4. And SRC

has identified two additional foreign customers for which it has articulated a basis to believe that

they use the accused functionality: Nokia Oyj 2 and Napatech A/S. Dkt. No. 132 at 3–4. As to

those customers, I find that SRC’s discovery efforts are justified, as they are directed to

information that may be relevant to this litigation. In addition, Xilinx acknowledges that SRC’s

subpoenas to Google and Qualcomm are supported by a sufficient showing to justify SRC’s

discovery efforts, and Xilinx therefore does not seek withdrawal of the subpoenas to those two

companies. Dkt. No. 144 at 1. With respect to the remaining subpoenaed Xilinx customers,




       1
           SRC suggests that because certain customers have spent large sums of money on Xilinx’s
products, those customers are likely to infringe. See, e.g., Dkt. No. 132 at 3 (suggesting that
because Nokia Oyj has “over $[REDACTED] in purchases of Accused Products,” it is likely “that
at least some portion of those Accused Products are used in an infringing manner.”). But without
more, the fact that a customer has purchased more than a certain dollar amount of Xilinx’s products
does not establish, or even suggest, that the customer is likely to practice the asserted claims.
         2
            To be clear, the subpoena to Nokia Oyj is justified because “Xilinx has produced
documents evidencing that Nokia Oyj and/or its subsidiaries use [the accused] functionality.” Dkt.
No. 132 at 3. The sum of money that Nokia Oyj has spent on Xilinx’s products is not relevant to
that determination. See supra note 1.
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however, SRC has not pointed to any basis for believing that a broad subpoena to any of those

customers is likely to produce evidence relevant to SRC’s claims against Xilinx.

       I recognize that without the use of third-party subpoenas, SRC may not be able to determine

which (if any) of Xilinx’s customers use Xilinx’s products to infringe the asserted claims. In light

of the liberal scope generally accorded to discovery, SRC is entitled to employ means to develop

that information if it can be done without imposing undue burdens on third parties. The problem

is that SRC’s current subpoenas seek large amounts of information, much of which does not

directly address the question whether the targeted customers infringe. For example, SRC’s

subpoenas generally request the following categories of documents:

            “1. Documents sufficient to show, on a quarterly or monthly basis, the total
    volume of Accused Products purchased by You during the period from October 2015 to
    present.
            2. Documents sufficient to show, on a quarterly or monthly basis, the total
    amounts paid by You to purchase Accused Products during the period from October 2015
    to present.
            3. Documents sufficient to show each of Your products and/or services that
    currently incorporates or implements an Accused Product or that previously did so at any
    time during the period from October 2015 to present.
            4. Documents sufficient to show each of Your products and/or services that
    currently utilizes the Self-Refresh Functionality of any Accused Product or that
    previously did so at any time during the period from October 2015 to present.
            5. For each of Your products and/or services that utilizes the Self-Refresh
    Functionality of any Accused Product or that previously did so at any time during the
    period from October 2015 to present, Documents sufficient to identify where such
    product or service is or was made, used, offered for sale, and/or sold.
            6. For each of Your products and/or services that utilizes the Self-Refresh
    Functionality of any Accused Product or that previously did so at any time during the
    period from October 2015 to present, Documents sufficient to identify any code, software,
    development tools, platforms, or other resources provided by or obtained from Xilinx and
    utilized, incorporated, or implemented by or in Your product or service, including without
    limitation Documents sufficient to identify any Xilinx IP cores used for such product or
    service and what Vivado Design Suite, if any, was used in the development of the product
    or service.
            7. Documents sufficient to show all assistance and/or support provided by Xilinx
    to You related to the utilization of the Self-Refresh Functionality of any Accused Product
    by or for any of Your products and/or services. For clarity, such Documents include, but



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    are not limited to, (1) project descriptions, (2) support tickets, and (3) training and
    instruction.
            8. All Documents exchanged between You and Xilinx related to any utilization
    of the Self-Refresh Functionality of any Accused Product by or for any of Your products
    and/or services.
            9. All Documents exchanged between You and any third party, including but not
    limited to Xilinx, related to FG SRC, the Lawsuit, and/or the ’311 patent.”

See, e.g., Dkt. No. 142, Exh. A at 4 (SRC’s subpoena to Google). Of those requests, the first three

relate only to the Accused Products, i.e., Xilinx’s products that, according to SRC, could be

adapted to be used in an infringing manner. Those requests do not address the question whether

the targeted customer actually modifies the Accused Products in a manner that could infringe the

asserted patent. Requests 5 through 9 could be relevant to the current action, but only if there were

a reasonable basis to believe that the targeted customer engages or has engaged in conduct that

could infringe the asserted claims.

        In support of its contention that most of SRC’s third-party subpoenas should be quashed in

their entirety, Xilinx cites Micro Motion, Inc. v. Kane Steel Co., 894 F.2d 1318 (Fed. Cir. 1990).

In that case, the Federal Circuit held that a discovery request directed to a third party is not justified

solely by virtue of the fact “[t]hat the discovery might uncover evidence showing that a plaintiff

has a legitimate claim.” Id. at 1327. The court in Micro Motion noted that the plaintiff sought

discovery from a non-party based on a “suspicion of infringement” by the non-party. Id. The

court added that “[a]n unfounded suspicion regarding [a third party’s] infringement does not

support discovery into that subject matter.” Id. That case is distinguishable from this one,

however, because in this case SRC is targeting customers who have purchased specific products

from Xilinx that SRC alleges can be used to infringe the asserted claims. That evidence, although

insufficient by itself to prove infringement by the third parties or induced infringement by Xilinx,




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nevertheless rises above the level of the “unfounded suspicion” that the court in Micro Motion

addressed. See id.

               b. Need

       With respect to need, it is clear that SRC has a need for information from third parties

demonstrating that the parties practice the asserted claims.           Without evidence of direct

infringement by a third party, SRC will be unable to establish inducement of infringement by

Xilinx. See Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 843 F.3d 1315, 1332

(Fed. Cir. 2016). And Xilinx has suggested at various points in this case that it is typically unaware

of how specific customers use its products. As a result, the information SRC seeks is likely to be

“uniquely available” from the parties that SRC is targeting with its subpoenas. See AbbVie, 2018

WL 2337133, at *2 (citation omitted).

               c. Confidentiality

       It is not clear whether the information SRC seeks will be confidential to the third parties

that are targeted by the subpoenas. I do not find that this factor weighs heavily in the analysis,

however, because any confidential information of third parties can be protected, upon request of

the third parties, using confidentiality designations consistent with the protective order already

entered in this case. See Dkt. No. 49, and April 8, 2021, order of court.

               d. Harm

       The potential harm to Xilinx’s customers, and by extension to Xilinx itself, is significant.

As noted, SRC’s requests are quite broad. Each target of a subpoena will need to respond to it,

and SRC acknowledges that many targets are likely to be cautious in responding, given that SRC

is seeking evidence that those customers infringe the asserted patent. Dkt. No. 134, Exh. C.

Because of the nature of the information sought, many of the subpoenaed parties may feel it



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 necessary to retain counsel before responding to the subpoenas, at significant cost. Moreover, as

 Xilinx points out, the imposition of costs associated with responding to the subpoenas “directly

 harms [those] customers’ willingness to continue doing business with Xilinx.” Dkt. No. 134 at 5.

        It is true, as SRC suggests, that Xilinx has not provided “specific examples to substantiate

 any hypothetical harm to its customers.” Dkt. No. 142 at 4. For example, Xilinx does not offer

 any evidence of communications between Xilinx and its customers regarding SRC’s subpoenas.

 It does stand to reason, however, that the breadth of the subpoenas will require a significant

 commitment of resources from the targets of the subpoenas, and that customers may be less

 inclined to do business with Xilinx as a result. I therefore conclude that there is some potential

 harm to both Xilinx and its customers from the subpoenas, but that the nature and degree of that

 harm has not been shown with specificity.

                                               * * *

        Upon weighing the four relevant factors, I conclude that discovery directed to Xilinx’s

 customers should proceed in an iterative manner and in a different fashion with regard to different

 groups of third parties. With respect to the customers that Xilinx has identified as possibly using

 the accused functionality and the two additional foreign customers identified by SRC that are

 discussed above, 3 I conclude that there is a sound basis for concluding that those customers may

 have relevant information, and that SRC’s need for that information outweighs the potential harm

 that may result from requests to those customers for the information sought in SRC’s subpoenas.

 SRC therefore need not withdraw or limit the subpoenas it has issued to those customers or any

 similar subpoenas it may issue to those customers in the future.




        3
           For clarity, the customers identified by Xilinx are Ericsson, Amazon, IBM, and
 Microsoft. The foreign customers identified by SRC are Nokia Oyj, and Napatech A/S.
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           Similarly, in light of Xilinx’s concession with regard to the subpoenas to Google and

 Qualcomm, I will not require the subpoenas to those companies to be withdrawn or limited.

           With respect to the remaining third-party domestic customers, however, the likelihood that

 those subpoenas will produce relevant information is entirely dependent on whether the targeted

 customer practices the accused functionality. If the targeted customer does use the accused

 functionality, the information SRC requests will likely be relevant to the action. But if the targeted

 customer does not use the accused functionality, the information SRC requests will likely have no

 relevance to this case. I find that at this point SRC has provided little reason to believe that any of

 the remaining third-party domestic customers are direct infringers of the ’311 patent, or that Xilinx

 has induced any of those customers to infringe the patent. For that reason, the risk of harm to

 Xilinx and the potential burden on that group of customers outweighs the speculative possibility

 that the broad subpoenas to any of those customers may generate relevant evidence. See Joy

 Techs., Inc. v. Flakt, Inc., 772 F. Supp. 842, 849 (D. Del. 1991) (concluding that third-party

 customers are “entitled to protection” absent “a specific need for evidence available only from

 third party customers”). I will therefore allow SRC to request only the documents listed in request

 number 4, identified above, 4 from any of Xilinx’s other domestic customers. In that more limited

 form, the subpoenas will allow SRC to determine whether the targeted customer practices the

 accused functionality while minimizing the burden on Xilinx’s customers, and by extension,

 Xilinx.




           4
           Request number 4 seeks “Documents sufficient to show each of Your products and/or
 services that currently utilizes the Self-Refresh Functionality of any Accused Product or that
 previously did so at any time during the period from October 2015 to present.” Dkt. No. 142, Exh.
 A at 4.
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        If further discovery reveals either (1) that Xilinx has engaged in conduct that could fairly

 be viewed as inducing particular customers to practice the methods claimed in the asserted patent,

 or (2) that particular Xilinx customers are in fact practicing the accused functionality, I will permit

 SRC to serve a supplemental subpoena of greater breadth directed to those customers as to which

 a showing of possible inducement by Xilinx, or possible direct infringement by the customers has

 been made. For the present, however, a broad demand for information from 80 or more customers

 of Xilinx, based on no indication that those customers are direct infringers or that Xilinx has taken

 any steps that would constitute inducement for those customers to infringe, is not justified. Before

 serving any such supplemental subpoena, as described in this paragraph, on any of the remaining

 third-party customers of Xilinx, SRC must seek leave of court.

        In summary, and to be clear, SRC will be allowed to issue only limited subpoenas to any

 third-party domestic customers of Xilinx absent a showing either that Xilinx induced infringement

 by the customer being targeted or that the customer being targeted uses the accused functionality.

 A sufficient showing exists for Amazon, IBM, and Microsoft, and the subpoenas already served

 on those three customers may remain in effect. Likewise, the subpoenas to Google and Qualcomm

 may remain in effect, and discovery directed to foreign customers Ericsson, Nokia Oyj, and

 Napatech A/S that is commensurate in scope with the subpoenas already served on the domestic

 customers will be permitted. All other subpoenas must be withdrawn except to the extent that they

 request documents identified in request number 4 of SRC’s subpoena to Google or to the extent

 that those subpoenas have already been responded to. See Dkt. No. 142, Exh. A, at 4. SRC is

 directed to inform the remaining Xilinx customers on which such subpoenas have been served that

 in light of this court’s order, they are required at this time to respond only to paragraph 4 (or the

 equivalent paragraph) of the subpoena. Xilinx will be permitted to confirm that instruction with



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 the targeted customers if it elects to do so. No broader subpoenas directed to Xilinx’s domestic

 customers may be issued by SRC without first seeking leave of court.

        In an abundance of caution, this order has been filed under seal because some of the parties’

 initial briefs and exhibits regarding the present motions were filed under seal. See, e.g., Dkt. Nos.

 118, 126, 132. Within three days of the issuance of this order, the parties are directed to advise

 the court by letter whether they wish any portions of the order to remain under seal. Any request

 that portions of the order should remain under seal must be supported by a particularized showing

 of need to limit public access to those portions of the order.

        IT IS SO ORDERED.

        SIGNED this 8th day of April, 2022.




                                               ______________________________

                                               WILLIAM C. BRYSON
                                               UNITED STATES CIRCUIT JUDGE




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